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                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE:                                                                 CHAPTER 7 PROCEEDING
GREGORY CARL FISHER, DEBTOR                                             CASE NO. 18-12595-JDW

NATIONSTAR MORTGAGE, LLC, AS SERVICER
FOR USAA FEDERAL SAVINGS BANK                                                            PLAINTIFF

VS.

GREGORY CARL FISHER, DEBTOR                                                           DEFENDANT


                        MOTION FOR RELIEF FROM AUTOMATIC STAY
                                 AND FOR OTHER RELIEF

          COMES NOW, Nationstar Mortgage, LLC, as servicer for USAA Federal Savings Bank,

a party in interest in this cause, by and through its attorney, and moves this Court to lift the

automatic stay as to certain property of the Debtor, and for other relief, and in support of said

motion would respectfully show unto the Court the following to wit:

                                                  I.

          That on or about July 5, 2018, the above named Debtor filed a voluntary petition in

Bankruptcy pursuant to 11 U.S.C. Chapter 7. By operation of 11 U.S.C. 362, the Plaintiff is

prohibited from commitment of any judicial proceeding against the Defendant, any act to obtain

possession of property of the estate, or any act to enforce any lien against the property of the

estate.

                                                  II.

          That the Bankruptcy Court has jurisdiction over this proceeding pursuant to 28 U.S.C.

1471 and 11 U.S.C. 362.
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                                                III.

       That on or about December 15, 2016, Gregory Fisher, did execute a certain Note and

Deed of Trust in favor of Mortgage Electronic Registration Systems, Inc., as nominee for USAA

Federal Savings Bank, its successors and assigns and secured by the following real property:

       Lot No. 177 of Whitehaven Subdivision, Addition "A", as said lot appears designated on
       a plat of said subdivision duly of record in Plat Book 2, at Page 24, of the recorded of
       plats on file in the Office of the Chancery Clerk of Grenada County, Mississippi.

Said Deed of Trust is recorded in the Grenada County Chancery Clerk's office in Book 2016 at

Page 11835. Further, said Note and Deed of Trust were subsequently assigned to Plaintiff by

assignment recorded in the office of the Chancery Clerk aforesaid. A copy of said Deed of Trust

attached hereto as an Exhibit as though fully copied herein. Additionally, attached are redacted

copies of any documents that support the claim, such as promissory notes, purchase order,

invoices, itemized statements of running accounts, contracts, judgments, mortgages, and security

agreements in support of right to seek a lift of the automatic stay and foreclose if necessary.

                                                IV.



       That the Defendant has defaulted in the payment of the current months' indebtedness and

is now due and owing for the April 1, 2018 payment and all subsequent payments. That as of

July 9, 2018, Plaintiff is due $3,288.56, plus all payments and charges that accrue hereafter. The

principal balance is $133,424.21.

                                                 V.

       Plaintiff would show that sufficient cause exists for the termination, annulment or

modification of the automatic stay as provided in 11 U.S.C.362 (d) (1) because of the failure of

the Defendant to make the payments set forth above and because there is no equity in the
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property and because subject property is of inconsequential value or benefit to the estate and

further that the Trustee should abandon the property pursuant to 11 U.S.C. §554(b). Plaintiff

would urge the Court to terminate, modify or lift the automatic stay and abandon the subject

property from the estate of the Debtor so as to allow the Plaintiff to pursue all remedies available

to it under the terms and conditions of said Deed of Trust, and applicable state law, including

initiation of foreclosure proceedings. Plaintiff further asks for attorney fees and court costs

incurred.

       WHEREFORE, PREMISES CONSIDERED, Nationstar Mortgage, LLC, as servicer for

USAA Federal Savings Bank files this Motion and prays that the automatic stay afforded by 11

U.S.C. 362 be terminated, modified or lifted, after notice and hearing, so as to allow Plaintiff to

pursue its remedies and to initiate foreclosure proceedings against the property which is subject

to said Deed of Trust, that the Trustee be ordered to abandon the property from the estate

pursuant to 11 U.S.C. §554(b) and for attorney's fees and costs incurred.




                                              Respectfully submitted
                                              SHAPIRO & MASSEY, LLC



                                              /s/ J. Gary Massey
                                                  J. Gary Massey
                                                  Attorney for Creditor
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                                CERTIFICATE OF SERVICE

        I, J. Gary Massey, of the firm of Shapiro & Massey, LLC, do hereby certify that I have
this date provided a copy of the foregoing Motion for Relief either by electronic case filing or by
United States mail postage pre-paid to the following:

Stephen Smith, Chapter 7 Trustee,
trustee1@smithcpafirm.com

Robert Gambrell, Gambrell & Associates, PLLC,, Attorney for the Debtor
rg@ms-bankruptcy.com

Office of the U.S. Trustee
USTPRegion05.AB.ECF@usdoj.gov

Gregory Carl Fisher
780 Robinson Road
Grenada, MS 38901


Dated: August 24, 2018

                                             Respectfully submitted
                                             SHAPIRO & MASSEY, LLC,


                                             /s/ J. Gary Massey
                                                 J. Gary Massey
                                                 Attorney for Creditor

Presented by:
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